                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DMSION

JAMIE L INGRAM,                                      )
                                                     )
                Plaintiff,                           )
                                                     )   CaseNo.:
V.                                                   )
                                                     )
DICK'S SPORTING GOODS, INC.,                         )
                                                     )
                Defendant.                           )

                              DECLARATION OF TINA MERAZ

        I, Tina Meraz, hereby declare as follows :

        I. I make the following declaration based on personal knowledge, unless otherwise stated,

and on my review of and familiarity with Defendant's files and documents in the above-captioned

matter. If called as a witness, I could and would competently testify to the facts contained herein.

I submit this declaration in support of Dick's Sporting Goods Inc.'s Notice of Removal to the

United States District Court for the Western District of Missouri.

        2. I am employed by Dick's Sporting Goods Inc. ("Dick's Sporting Goods") as a Human

Resources Generalist. Based on my work as a Human Resources Generalist, I have knowledge of

and am familiar with Dick's Sporting Goods' corporate structure and business operations.

        3. Dick's Sporting Goods is a corporation incorporated in the State of Delaware. Dick's

Sporting Goods' high level officers direct, control, and coordinate its activities in the State of

Pennsylvania.

       4. At the time of her termination from Dick's Sporting Goods, Plaintiff Jamie L. Ingram

was a full time employee receiving an annual salary of $44,990.40, at an hourly rate of $21.63.

        I declare under penalty of perjury and under the laws of the United States and Missouri




     Case 4:22-cv-00026-SRB Document 1-3 Filed 01/14/22 Page 1 of 2
                   that the foregoing is true and correct to the best of my knowledge and belief.

                           Executed this ./..1=_ day of January, 2022, at ~       , .;h,r(', Illinois .
                                                                                      .J




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               Case 4:22-cv-00026-SRB Document 1-3 Filed 01/14/22 Page 2 of 2
